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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


GENBIOPRO, INC.,

                              Plaintiff,

v.                                                   CIVIL ACTION NO. 3:23-0058

MARK A. SORSAIA, in his official capacity
as Prosecuting Attorney of Putnam County and
PATRICK MORRISEY, in his official capacity
as Attorney General of West Virginia,

                              Defendants.


                                             ORDER

       Pending before the Court is Defendants’ Motion for Stay. 1 ECF No. 48. The Motion is

DENIED.

       The Court finds it inadvisable to stay based upon a district court opinion granting a

preliminary injunction, which merely forecasts that FDA approval of generic mifepristone may

eventually be set aside. Decisions from the Northern District of Texas and the Fifth Circuit are not

binding upon this Court. Nor would a Supreme Court decision as to the preliminary injunction

issued by that District impact the proceedings here. Further, the Court observes that the opinion in

Alliance for Hippocratic Medicine v. United States Food & Drug Administration, No. 2:22-cv-




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  At the Court’s direction, Plaintiff filed a Response in Opposition on April 20, 2023. ECF No.
50. On April 21, 2023, Defendant Morrisey’s counsel informed the Court that a Reply would be
filed by noon. When no Reply was filed by that time, the Court attempted to contact Defendant, to
no avail. Accordingly, the Court proceeded to enter this Order.
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00223 (N.D. Tex.) has been met with broad criticism from legal commentators. Therefore, the

Court accords that opinion little weight.

       The instant case is in its very early stages, and the Court has recently scheduled oral

arguments on the issue of standing. There is no reason to delay consideration of that issue. Plaintiff

bears the ultimate burden of establishing standing. Accordingly, to facilitate the argument

scheduled for Monday, April 24, 2023, the Court informs the parties that Plaintiff will present its

arguments first.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.


                                               ENTER:         April 21, 2023




                                              ROBERT C. CHAMBERS
                                              UNITED STATES DISTRICT JUDGE




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